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5
     Attorney for Defendant
6    MANJINDER PAL SINGH
7
8                                IN THE UNITED STATES DISTRICT COURT
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    )   NO. 1:07-CR-00138 LJO
                                                  )
12                        Plaintiff,              )   STIPULATION TO CONTINUE TRIAL
                                                  )   SCHEDULE AND DATE; ORDER
13          v.                                    )
                                                  )   Trial Confirmation:
14   HIMMAT SINGH, and                            )    Date: February 1, 2008
     MANJINDER PAL SINGH,                         )    Time: 9:00 A.M.
15                                                )    Judge: Hon. Lawrence J. O’Neill
                          Defendants.             )   Trial:
16                                                )    Date: February 11, 2008
                                                       Time: 1:30 P.M.
17                                                     Judge: Hon. Lawrence J. O’Neill
18
19          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
20   counsel, that the hearing on Motions In Limine now set for September 28, 2007, shall be continued to
21   December 14, 2007, at 9:00 A.M., the trial confirmation hearing now set for November 16, 2007,
22   shall be continued to February 1, 2008, at 9:00 A.M., and the trial now scheduled for November 26,
23   2007, shall be continued to February 11, 2008, at 1:30 P.M.
24          IT IS FURTHER STIPULATED that the remaining compliance dates may be continued as
25   follows: Defense Motions In Limine now due August 24, 2007, shall be due November 9, 2007;
26   Government Responses to Defense Motions In Limine now due September 14, 2007, shall be due
27   November 30, 2007; Defense Replies to Government Responses to Motions In Limine now due
28   September 21, 2007, shall be due December 7, 2007.
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1             The reason for the hearing is that additional defense investigation has arisen, further plea
2    negotiations and the possibility of motion to suppress evidence and statements on behalf of Manjinder
3    Singh must be considered, written and reviewed.
4             The parties agree that the delay resulting from the filing of motions shall be excluded in the
5    interests of justice, including but not limited to, the need for the period of time set forth herein for
6    effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(1)(F), (h)(8)(A), and (h)(8)(B)(i) and (iv).
7
8                                                                    McGREGOR W. SCOTT
                                                                     United States Attorney
9
10   DATED: September 10, 2007                                   By /s/ Kathleen A. Servatius
                                                                    KATHLEEN A. SERVATIUS
11                                                                  Assistant United States Attorney
                                                                    Attorney for Plaintiff
12
13                                                                   DANIEL J. BRODERICK
                                                                     Federal Defender
14
15   DATED: September 10, 2007                                   By /s/ Ann H. Voris
                                                                    FRANCINE ZEPEDA
16                                                                  Assistant Federal Defender
                                                                    Attorney for Manjinder Pal Singh
17
18   DATED: September 10, 2007                                   By /s/ Roger T. Nuttall
                                                                    ROGER T. NUTTALL
19                                                                  Attorney for Himmat Singh
20
21
22                                                       ORDER
23          IT IS SO ORDERED. The above trial schedule and hearing date is hereby adopted, and good
     cause exists for the requested continuance for the stated reasons.
24
     IT IS SO ORDERED.
25
     Dated:       September 12, 2007                   /s/ Lawrence J. O'Neill
26   b9ed48                                        UNITED STATES DISTRICT JUDGE
27
28

     Stipulation to Continue Trial Schedule
     and Date; [Proposed] Order                              2
